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                   IN THE DISTRICT COURT OF THE UNITED STATES

                      FOR THE DISTRICT OF SOUTH CAROLINA

                                  COLUMBIA DIVISION

UNITED STATES OF AMERICA                         )      CR. NO.: 3:19-4
                                                 )
     -vs-                                        )   MOTION FOR DISCOVERY
                                                 )     AND INSPECTION
MICHAEL GREENE                                   )

             The       defendant,     MICHAEL GREENE, through his undersigned
attorney, does hereby move the Court for discovery and inspection of the
following:

             1.      Any relevant written or recorded statements made by the defendant,
                     or copies thereof, within the possession, custody or control of the
                     Government, the existence of which is known, or by the exercise of
                     due diligence may become known, to the attorney for the
                     Government;


              2.     The substance of any oral statement which the Government intends
                     to offer in evidence at the trial made by the defendant;


              3.    The prior criminal record of the defendant;


              4.     All books, papers, documents, photographs or tangible objects which
                     are in the possession, custody or control of the Government, and are
                     relevant to this case, including any handwritten notes taken by
                     any investigating agents;

              5. The results or reports of physical or mental examinations, of scientific
                  tests or experiments, or copies thereof, which are within the
                  possession, custody control of the Government, the existence of
                  which is known, or by the exercise of due diligence may
                  become known to the attorney for the Government mended;
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       6.         Pursuant to Fed.R.Crim.P. 16(a)(1)(G), a written summary of
                  testimony the government intends to use under Rules 702, 703, or
                  705 of the Federal Rules of Evidence during its case in chief at trial,
                  including the witnesses’ opinions, the basis and the reasons thereof,
                  and the witnesses’ qualifications;

       7.     All evidence favorable to the defendant, or which would be helpful
              in the preparation of a defense or in mitigation of punishment. This
              includes, but is not limited to, the following:

                  (a)    All information relevant to the credibility of any Government
                         witness;


              (b)        All information concerning the conduct, character and
                         reputation of any such witness which is relevant to his or her
                         truthfulness or untruthfulness;


              (c)        The criminal record of such witness, including specifically, any
                         prior conviction of a crime       punishable by death or
                         imprisonment in excess of one year or which involved
                         dishonesty or false statement;


              (d)        The substance of any agreement, or proposed agreement,
                         either oral or written, made in the name of the Government of
                         the United States to any Government witness, the subject of
                         which deals either directly or indirectly with promise of favored
                         treatment or leniency in return for either pleas of guilty, nolo
                         contendere or favorable testimony in this case or any other
                         criminal or civil litigation or sentencing procedure;


             (e)         All evidence tending to show that any acts or conduct by the
                         defendant were done without criminal intent;


            (f)          This request specifically includes any information which could
                         show that at the time of any alleged act, that the
                         defendant, MICHAEL GREENE,              was neither present,
                         mentioned or involved directly or indirectly;

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                   (g)     All names and present addresses of persons who have any
                           knowledge of the existence of any evidence which might be
                           relevant to acts charged as a crime in the Indictment against
                           the defendant, including all persons who (a) will be witnesses
                           for the Government upon the trial of this case, or (b) will not be
                           called as witnesses by the Government;


               (h)         The transcript of testimony of any and all persons who testified
                           before the Grand Jury in this case; and,


              8.     All statements of witnesses producible under Title United States
                     Code, Section 3500, the Jenks Act, at least seventy-two (72) hours
                     prior to trial;

              9.    Pursuant to the provisions of Title 18, United States Code, Section
                    2518(9):


                         (a)        All records relating to intercepted wire or oral
                                    communications and/or any evidence discovered
                                    therefrom.



                                          Respectfully submitted,


                                          s/JAMES P. ROGERS
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Columbia, South Carolina

January 16, 2019


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